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                                                                      June 10, 2025

        ByECF

        Hon. Kenneth M. Karas
        United States District Judge
        Southern District of New York
        The Hon. Charles L. Brieant Jr.
        Federal Building and United States Courthouse
        300 Quarropas St.
        White Plains, NY 10601 -4 150


                                Re:    United States v. Eric Kyu, 25 Cr. 105 (KMK)

        Dear Judge Karas:

                This letter is respectfully submitted to ( l) request that the Court amend the conditions of
        Mr. Kyu's release to permit travel to Pennsylvania and (2) adjourn the July 14, 2025 sentence date
        to a date in mid-September or to a date thereafter convenient for the Court.

               Mr. Kyu has been accepted to attend a 42-day in-patient treatment program at KeyStone
        Center, Extended Care Unit ("ECU") in Pennsylvania. KeyStone specializes in addictive
        disorders.' Since shortly after his arrest, Mr. Kyu has been in weekly and bi-weekly out-patient
        therapy with Dr. Richard Krueger and Dr. Meg Kaplan. He now hopes to continue his treatment
        and rehabilitation with the KeyStone program. The program will build on Mr. Kyu's progress with
        Drs. Krueger and Kaplan after which he will resume his outpatient therapy as he awaits sentencing.

                Pretrial Services and the Government have no objection to the amendment to Mr. Kyu's
         conditions of release to permit travel to Pennsylvania so that he may be admitted to in-patient
         treatment at KeyStone Center ECU. He will not leave the facility except to return to New York.
         We will advise both the Court, Pretrial Services and the Government of his release date. Assistant
         United States Attorney David Markewitz has no objection to adjournment of the July 14, 2025
         sentence.




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             See KeyStone ECU, https://keystonecenterecu.net/about-us/
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        Thank you for your courtesy and consideration.


                                                          Respectfully submitted,
         Granted.
                                                          Isl James Kousouros
         So Ordere                                        James Kousouros, Esq.
                                                          Counsel for Mr. Kyu
         6/20/25        ~
c.c.    All Counsel of Record (By ECF)

        Pretrial Services




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